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10 Attorneys for United States of America

11                                 UNITED STATES DISTRICT COURT

12                               NORTHERN DISTRICT OF CALIFORNIA

13                                          SAN JOSE DIVISION

14   UNITED STATES OF AMERICA,                   ) Case No. 18-CR-00258 EJD
                                                 )
15           Plaintiff,                          ) UNITED STATES’ PROPOSED JUROR
                                                 ) QUESTIONNAIRE
16      v.                                       )
                                                 )
17   RAMESH “SUNNY” BALWANI,                     )
                                                 )
18           Defendant.                          )
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     U.S.’ PROPOSED JUROR QUESITONNAIRE,
     CASE NO. 18-CR-258 EJD
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 1         The government respectfully submits the attached Proposed Juror Questionnaire. The

 2 government recommends the Court use the same questions as used in United States v. Holmes, with no

 3 additional questions. For the Court’s convenience, the government also attaches a redline of the

 4 Proposed Juror Questionnaire against the questionnaire used in the Holmes case.

 5

 6 DATED: December 28, 2021                                    Respectfully submitted,

 7                                                             STEPHANIE M. HINDS
                                                               United States Attorney
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 9                                                             ________________________________
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     U.S.’ PROPOSED JUROR QUESITONNAIRE,
     CASE NO. 18-CR-258 EJD                        1
